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                          1   JAN P. WEIR (SBN 106652)
                              Email: jweir@sycr.com
                          2   DOUGLAS Q. HAHN (SBN 257559)
                              Email: dhahn@sycr.com
                          3   SALIL BALI (SBN 263001)
                              Email: sbali@sycr.com
                          4   STRADLING YOCCA CARLSON & RAUTH
                              660 Newport Center Drive, Suite 1600
                          5   Newport Beach, CA 92660-6422
                              Telephone: (949) 725-4000
                          6   Facsimile: (949) 725-4100
                          7   SAMUEL MAWN-MAHLUA (will seek admission pro hac vice)
                              Email: smawnmahlua@davismalm.com
                          8   THOMAS FRISARDI (will seek admission pro hac vice)
                              Email: tfrisardi@davismalm.com
                          9   Davis, Malm & D'Agostine, P.C.
                              One Boston Place
                         10   Boston, MA 02108
                              Telephone: (617) 589-3816
                         11   Facsimile: (617) 305-3116
                         12   Attorneys for Defendant
                              SPREADSHIRT, INC.
                         13
                         14
                                                      UNITED STATES DISTRICT COURT
                         15
                                                    CENTRAL DISTRICT OF CALIFORNIA
                         16
                              BRAVADO INTERNATIONAL                CASE NO. 2:11-cv-05070-RSWL-RZ
                         17   GROUP MERCHANDISING
                              SERVICES, INC.,                      Honorable Judge Ronald S.W. Lew
                         18                                        Courtroom 21
                                                     Plaintiff,
                         19                                        DEFENDANT SPREADSHIRT, INC.’S
                                                     vs.           ANSWER TO COMPLAINT FOR
                         20                                        TRADEMARK, RIGHT OF PUBLICITY
                              SPREADSHIRT, INC., VARIOUS           AND COPYRIGHT INFRINGEMENT
                         21   JOHN DOES, JANE DOES, AND            AND UNFAIR COMPETITION
                              ABC COMPANIES,
                         22
                                                     Defendant.    JURY TRIAL DEMANDED
                         23
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                          1          Defendant Spreadshirt, Inc. (“Spreadshirt”), by and through its undersigned
                          2   counsel, respectfully submits this Answer and Affirmative Defenses in response to
                          3   the Complaint of Plaintiff Bravado International Group Merchandising Services,
                          4   Inc. (“Bravado”).
                          5
                          6                     ANSWER TO FIRST AMENDED COMPLAINT
                          7                                  JURISDICTION AND VENUE
                          8          1.      Spreadshirt lacks knowledge or information sufficient to form a belief
                          9   as to the truth of the allegations in paragraph 1.
                         10          2.      Spreadshirt denies the allegations in paragraph 2, except admits that
                         11   Spreadshirt has transacted business in the Central District of California.
                         12          3.      Spreadshirt denies the allegations in paragraph 3, except admits that
                         13   Bravado purports to bring claims alleging trademark infringement under the
                         14   Lanham Trademark Act (15 U.S.C. 1051 et seq.) and that this Court has
                         15   jurisdiction over those claims pursuant to 28 U.S.C. 1331 and 1338(a).
                         16          4.      Spreadshirt denies the allegations in paragraph 4.
                         17
                         18                                           PARTIES
                         19          5.      Spreadshirt admits the allegations in paragraph 5, except lacks
                         20   knowledge or information sufficient to form a belief on how Michael Jackson used
                         21   his name, trademarks, likeness and logos to identify himself in the entertainment
                         22   industry to distinguish himself from other professional entertainers.
                         23          6.      Spreadshirt lacks knowledge or information sufficient to form a belief
                         24   as to the allegations in paragraph 6.
                         25          7.      Spreadshirt lacks knowledge or information sufficient to form a belief
                         26   as to the allegations in paragraph 7.
                         27          8.      Spreadshirt lacks knowledge or information sufficient to form a belief
                         28   as to the truth of the allegations in paragraph 8.
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                          1          9.      Spreadshirt denies the allegation in paragraph 9.
                          2          10.     Spreadshirt denies the allegations in paragraph 10.
                          3          11.     Spreadshirt denies the allegations in paragraph 11.
                          4
                          5                          FIRST ALLEGED CAUSE OF ACTION
                          6                                  Violation of 15 U.S.C. 1125(a)
                          7          12.     Spreadshirt repeats its responses to paragraphs 1 through 11 in
                          8   response to the repetition of those allegations in paragraph 12.
                          9          13.     Spreadshirt denies the allegations in paragraph 13, except admits that
                         10   Bravado purports to bring this cause of action under 15 U.S.C. 1125(a) relating to
                         11   trademarks, trade names, unfair competition and false descriptions in commerce.
                         12          14.     Spreadshirt lacks knowledge or information sufficient to form a belief
                         13   as to the allegations in paragraph 14.
                         14          15.     Spreadshirt denies the allegations in paragraph 15.
                         15          16.     Spreadshirt denies the allegations in paragraph 16.
                         16          17.     Spreadshirt denies the allegations in paragraph 17.
                         17          18.     Spreadshirt denies the allegations in paragraph 18.
                         18          19.     Spreadshirt denies the allegations in paragraph 19.
                         19          20.     Spreadshirt denies the allegations in paragraph 20.
                         20          21.     Spreadshirt denies the allegations in paragraph 21.
                         21
                         22                        SECOND ALLEGED CAUSE OF ACTION
                         23                                  Violation of 15 U.S.C. 1125(a)
                         24          22.     Spreadshirt repeats its responses to paragraphs 1 through 11 and 13 in
                         25   response to the repetition of those allegations in paragraph 22.
                         26          23.     Spreadshirt denies the allegations in paragraph 23, except admits that
                         27   Bravado purports to bring this cause of action under 15 U.S.C. 1125(a).
                         28          24.     Spreadshirt lacks knowledge or information sufficient to form a belief
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                          1   as to the allegations in paragraph 24.
                          2          25.     Spreadshirt denies the allegations in paragraph 25.
                          3          26.     Spreadshirt denies the allegations in paragraph 26.
                          4          27.     Spreadshirt denies the allegations in paragraph 27.
                          5          28.     Spreadshirt denies the allegations in paragraph 28.
                          6          29.     Spreadshirt denies the allegations in paragraph 29.
                          7
                          8                          THIRD ALLEGED CAUSE OF ACTION
                          9                       Violation of Common Law Unfair Competition
                         10          30.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                         11   through 21 and 23 through 29 in response to the repetition of those allegations in
                         12   paragraph 30.
                         13          31.     Spreadshirt denies the allegations in paragraph 31.
                         14          32.     Spreadshirt denies the allegations in paragraph 32.
                         15          33.     Spreadshirt denies the allegations in paragraph 33.
                         16          34.     Spreadshirt denies the allegations in paragraph 34.
                         17          35.     Spreadshirt denies the allegations in paragraph 35.
                         18
                         19                        FOURTH ALLEGED CAUSE OF ACTION
                         20                        Trademark Dilution Under 15 U.S.C. 1125(c)
                         21          36.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                         22   through 21, 23 through 29 and 31 through 35 in response to the repetition of those
                         23   allegations in paragraph 30.
                         24          37.     Spreadshirt lacks knowledge or information sufficient to form a belief
                         25   as to the allegations in paragraph 37.
                         26          38.     Spreadshirt denies the allegations in paragraph 38.
                         27          39.     Spreadshirt denies the allegations in paragraph 39.
                         28          40.     Spreadshirt denies the allegations in paragraph 40.
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                          1                          FIFTH ALLEGED CAUSE OF ACTION
                          2                                  Copyright Infringement
                          3          41.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                          4   through 21, 23 through 29, 31 through 35 and 37 through 40 in response to the
                          5   repetition of those allegations in paragraph 41.
                          6          42.     Spreadshirt lacks knowledge or information sufficient to form a belief
                          7   as to the allegations in paragraph 42.
                          8          43.     Spreadshirt lacks knowledge or information sufficient to form a belief
                          9   as to the allegations in paragraph 43.
                         10          44.     Spreadshirt lacks knowledge or information sufficient to form a belief
                         11   as to the allegations in paragraph 44.
                         12          45.     Spreadshirt denies the allegations in paragraph 45.
                         13          46.     Spreadshirt denies the allegations in paragraph 46.
                         14          47.     Spreadshirt denies the allegations in paragraph 47.
                         15
                         16                          SIXTH ALLEGED CAUSE OF ACTION
                         17                 Violation of Section 3344.1 of the California Civil Code
                         18          48.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                         19   through 21, 23 through 29, 31 through 35, 37 through 40, and 42 through 47 in
                         20   response to the repetition of those allegations in paragraph 48.
                         21          48.     [There are two paragraphs numbered 48 in the complaint.]
                         22   Spreadshirt admits that Michael Jackson was a musical performer, but lacks
                         23   sufficient information or knowledge sufficient to form a belief as to the balance of
                         24   the allegations in paragraph 48.
                         25          49.     Spreadshirt denies the allegations in paragraph 49.
                         26          50.     Spreadshirt admits the allegations in paragraph 50.
                         27          51.     Spreadshirt denies the allegations in paragraph 51.
                         28          52.     Spreadshirt denies the allegations in paragraph 52.
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                          1          53.     Spreadshirt denies the allegations in paragraph 53.
                          2          54.     Spreadshirt denies the allegations in paragraph 54.
                          3
                          4                        SEVENTH ALLEGED CAUSE OF ACTION
                          5                        Violation of Common Law Right of Publicity
                          6          55.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                          7   through 21, 23 through 29, 31 through 35, 37 through 40, 42 through 47 and 49
                          8   through 54 in response to the repetition of those allegations in paragraph 55.
                          9          56.     Spreadshirt denies the allegations in paragraph 56.
                         10          57.     Spreadshirt denies the allegations in paragraph 57.
                         11          58.     Spreadshirt denies the allegations in paragraph 58.
                         12
                         13                          EIGHT ALLEGED CAUSE OF ACTION
                         14       Unfair Competition Under Cal. Bus. & Prof. Code Section 17200 et. seq.
                         15          59.     Spreadshirt repeats its responses to paragraphs 1 through 11, 13
                         16   through 21, 23 through 29, 31 through 35, 37 through 40, 42 through 47, 49
                         17   through 55 and 57 through 58 in response to the repetition of those allegations in
                         18   paragraph 59.
                         19          60.     Spreadshirt denies the allegations in paragraph 60.
                         20          61.     Spreadshirt denies the allegations in paragraph 61.
                         21          62.     Spreadshirt denies the allegations in paragraph 62.
                         22          63.     Spreadshirt denies the allegations in paragraph 63.
                         23
                         24                                  AFFIRMATIVE DEFENSES
                         25          By asserting these affirmative defenses, Spreadshirt does not admit that it
                         26   necessarily bears the burden of proof or persuasion for the issues raised. Further,
                         27   Spreadshirt has insufficient knowledge and information to form a belief as to
                         28   whether additional defenses are available. Spreadshirt reserves the right to amend
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                          1   its Answer to add, delete or modify defenses based on legal theories later divulged
                          2   through clarification of the Complaint, discovery, change or clarification of the
                          3   governing law, or through further legal analysis of Bravado’s position in this
                          4   litigation. Subject to the foregoing, for its affirmative defenses, Spreadshirt asserts
                          5   the following:
                          6
                          7                              FIRST AFFIRMATIVE DEFENSE
                          8                                    (Failure to State a Claim)
                          9          65.     The Complaint fails to state a claim upon which relief can be granted.
                         10
                         11                            SECOND AFFIRMATIVE DEFENSE
                         12                                            (Laches)
                         13          71.     Bravado delayed unreasonably in bringing its claim against
                         14   Spreadshirt.
                         15          72.     This delay prejudiced Spreadshirt.
                         16
                         17                             THIRD AFFIRMATIVE DEFENSE
                         18                                  (Adequate Remedies at Law)
                         19          73.     Bravado’s claims for injunctive relief are barred because, even if
                         20   Bravado were to prevail, Bravado has adequate remedies at law.
                         21
                         22
                         23                            FOURTH AFFIRMATIVE DEFENSE
                         24                                  (Lack of Secondary Meaning)
                         25          74.     The alleged trademarks are not inherently distinctive and have not
                         26   established secondary meaning.
                         27
                         28
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                          1                              FIFTH AFFIRMATIVE DEFENSE
                          2                                             (Fair Use)
                          3          75.     Any use of the alleged trademarks, copyrights or other purportedly
                          4   protected material by Spreadshirt was fair use, and therefore not infringing.
                          5
                          6                              SIXTH AFFIRMATIVE DEFENSE
                          7                                  (Non-Infringement of Trademark)
                          8          76.     Even if Bravado’s allegations are true, no actions taken by Spreadshirt
                          9   complained of herein create a likelihood of confusion as to source or origin or any
                         10   product or services.
                         11
                         12                           SEVENTH AFFIRMATIVE DEFENSE
                         13                     (Innocent Trademark Infringement by a Printer)
                         14          77.     Any allegedly infringing action taken by Spreadshirt was taken only
                         15   as a printer, and thus is governed by 15 U.S.C. 1114(2)(A).
                         16          78.     Even if the allegations in the Complaint are true, Spreadshirt is at
                         17   most an innocent infringer.
                         18          79.     As a printer or publisher who is at most an innocent infringer,
                         19   Spreadshirt cannot be held liable for any trademark infringement damages.
                         20
                         21                            EIGHTH AFFIRMATIVE DEFENSE
                         22                                    (Waiver of Right of Publicity)
                         23          80.     Michael Jackson is a public figure, and as such has waived his right of
                         24   publicity with respect to his public conduct.
                         25          81.     Upon information and belief, Spreadshirt’s alleged conduct concerned
                         26   only matters relating to Michael Jackson’s activities and persona as a public figure
                         27   and is therefore not a violation of the right of publicity.
                         28
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                          1                             NINTH AFFIRMATIVE DEFENSE
                          2               (No Conduct Entitling Award of Attorney’s Fees or Costs)
                          3          82      Bravado has not alleged facts, and Spreadshirt has not engaged in
                          4   conduct, that entiAtle Bravado to an award of attorney’s fees or costs.
                          5
                          6                                    PRAYER FOR RELIEF

                          7          WHEREFORE, Spreadshirt prays for the following relief:
                          8
                                     A.      For a judgment dismissing the claims of the Complaint with prejudice
                          9
                         10   and entering judgment in favor of Spreadshirt on said claims;

                         11          B.      For a judgment that Spreadshirt does not infringe, induce
                         12
                              infringement, or contributorily infringe;
                         13
                         14          C.      For such other and further relief as the Court deems just and proper.

                         15                                  DEMAND FOR JURY TRIAL
                         16
                                     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Spreadshirt
                         17
                         18   demands a trial by jury on all claims and issues so triable.

                         19   DATED: November 10, 2011                    STRADLING YOCCA CARLSON &
                                                                          RAUTH
                         20                                               A Professional Corporation
                         21
                                                                          By: /s/ Douglas Hahn
                         22                                                   JAN P. WEIR
                                                                              DOUGLAS Q. HAHN
                         23                                                   SALIL BALI
                                                                              Attorneys for Defendant
                         24                                                   SPREADSHIRT, INC.
                         25
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                          1                                  CERTIFICATE OF SERVICE

                          2          I certify that on November 10, 2011, the foregoing document:
                          3
                                    DEFENDANT SPREADSHIRT, INC.’S ANSWER TO COMPLAINT
                          4          FOR TRADEMARK, RIGHT OF PUBLICITY AND COPYRIGHT
                          5                INFRINGEMENT AND UNFAIR COMPETITION

                          6                                   JURY TRIAL DEMANDED
                          7
                              was served on all parties or their counsel of record through the CM/ECF system
                          8   if they are registered users or, if they are not, by serving a true and correct copy
                          9   at the addresses listed below (the sealed version by email and redacted version
                              by CM/ECF):
                         10
                               Kenneth A Feinswog, Esq.
                         11    Kenneth A Feinswog Law Offices
                               400 Corporate Pointe Suite 300
                         12    Culver City, CA 90230
                               T: 310-846-5800
                         13    F: 310-846-5801
                               Email: kfeinswog@aol.com
                         14
                               Attorneys for Plaintiffs
                         15    BRAVADO INTERNATIONAL GROUP
                               MERCHANDISING SERVICES, INC.,
                         16
                         17    Samuel Mawn-Mahlua, Esq.
                               (will seek admission pro hac vice)
                         18    Thomas Frisardi, Esq.
                               (will seek admission pro hac vice)
                         19    Davis, Malm & D'Agostine, P.C.
                               One Boston Place
                         20    Boston, MA 02108
                               T: 617-589-3816
                         21    F: 617-305-3116
                               Email: smawnmahlua@davismalm.com
                         22    Email: tfrisardi@davismalm.com
                         23    Co-Counsel for Defendant
                               SPREADSHIRT, INC.
                         24
                         25
                                 /s/ Douglas Hahn                                      November 10, 2011
                         26         Signature                                               Date
                         27         Douglas Hahn

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